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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                       3:00cr48/LAC
                                                          3:05cv204/LAC/MD

PHILLIP NESMITH


                            REPORT AND RECOMMENDATION

          This cause is before the court upon referral from the clerk. On January 12, 2007,
this court granted defendant’s motion to extend time for 15 days to provide letters and to
answer the court’s order of October 30, 2006. On January 8, 2008, when defendant failed
to respond or file anything else since that date, it appearing that this case had been
abandoned, the court entered an order to show cause directing defendant to show cause
why his motion should not be dismissed without prejudice due to his failure to prosecute
or to comply with orders of the court. Over twenty days have elapsed without response
from the defendant.
          Accordingly it is respectfully RECOMMENDED:
          That the defendant’s motion to vacate (doc. 1281) be denied and dismissed without
prejudice for his failure to comply with an order of the court and failure to prosecute this
action.
          At Pensacola, Florida, this 29th day of January, 2008.



                                         /s/   Miles Davis
                                               MILES DAVIS
                                               UNITED STATES MAGISTRATE JUDGE
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                                          NOTICE TO THE PARTIES

        Any objections to these proposed findings and recommendations must be filed
within ten days after being served a copy hereof. Any different deadline that may appear
on the electronic docket is for the court’s internal use only, and does not control. A copy
of any objections shall be served upon any other parties. Failure to object may limit the
scope of appellate review of factual findings. See 28 U.S.C. § 636; United States v.
Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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